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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

 

SONY MUSIC ENTERTAINMENT, et ai,
Plaintiffs,

Case No. 1:18-cv-00950-LO-JFA

COX COMMUNICATIONS, INC., et al.,

Defendants.

 

 

DECLARATION OF MICHAEL ABITBOL ON BEHALF OF THE SATV/EMI
PLAINTIFFS IN OPPOSITION TO DEFENDANTS’ MOTION TO COMPEL

I, Michael Abitbol, hereby declare, pursuant to 28 U.S.C. § 1746, as follows:

1. T am currently employed as Senior Vice President, Business and Legal Affairs,
Digital for Sony/ATV Music Publishing LLC (“SATV”). I have held that position or a similar
position at all times relevant to this declaration. I have personal knowledge of the facts set forth
below and/or have learned of these facts as a result of my position and responsibilities at SATV,
and could and would testify competently thereto if called as a witness.

2. Plaintiffs SATV and its affiliates EMI Al Gallico Music Corp., EMI Algee Music
Corp., EMI April Music Inc., EMI Blackwood Music Inc., Colgems-EMI Music Inc., EMI
Consortium Music Publishing Inc. d/b/a EMI Full Keel Music, EMI Consortium Songs, Inc.,
individually and d/b/a EMI Longitude Music, EMI Feist Catalog Inc., EMI Miller Catalog Inc.,
EMI Mills Music, Inc., EMI Unart Catalog Inc., EMI U Catalog Inc., Jobete Music Co. Inc., Stone
Agate Music, Screen Gems-EMI Music Inc., Stone Diamond Music Corp. (collectively,

“SATV/EMI”) are full-service music publishing companies that collectively exploit with their
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fellow music publishing affiliates a diverse catalog of over three million songs, including some of
the most iconic musical compositions of all time.

3. I am generally familiar with SATV/EMI’s practices and procedures for acquiring,
administering, publishing, licensing, and otherwise exploiting its catalogue of songs and the costs
and revenues associated therewith. I am also generally familiar with the process by which
SATV/EMI accounts for income and costs in connection with its catalog of musical compositions
and the manner in which SATV/EMI and its music publishing affiliates keep, maintain, and
account for their records with respect to such income and expenses. In addition, I am generally
familiar with the books and records of SATV/EMI, including documents such as copyright
certificates and agreements pursuant to which SATV/EMI possesses rights in the musical
compositions at issue in this litigation.

4, I understand that this declaration is to be submitted to the Court in connection with
requests for discovery and a motion to compel filed by Defendants Cox Communications, Inc. and
CoxCom, LLC (collectively, “Defendants” or “Cox”).

5. As explained below, production of each of these categories would be a massive
undertaking—literaily requiring thousands of hours of time from SATV/EMI employees to locate,
identify, and review such documents. Such an effort would likely impose expenses on SATV/EMI
in the hundreds of thousands or millions of dollars. The burden and expense is further compounded
by the fact that much of SATV/EMI’s business is conducted by email. Consequently, as explained
below, the task of locating responsive documents (particularly electronic communications) is
magnified dramatically as a result of the fact that the electronic files of dozens of SATV/EMI
employees could conceivably have documents falling within the broad categories of documents

requested by Defendants.
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Discovery Concerning the SATV/EMI Plaintiffs’ Financial Information

6. SATV/EMI does not maintain summary financial documents reflecting the
financial information Cox seeks on a track-by-track or even album-by-album basis, Specifically,
SATV/EMI does not have profit and loss statements at the level of individual songs. Nor does it
maintain them for albums.

7. Any effort to identify and unearth every document or piece of financial data that
would be needed to calculate profit and loss figures per song would be a herculean undertaking.
Given the thousands of works at issue in this lawsuit, locating, collecting, and reviewing all the
financial documentation Cox requests would be unending. Cox apparently seeks full
documentation about the costs and revenues involved in acquiring, administering, publishing,
licensing, and otherwise exploiting songs—the whole of SATV/EMI’s business. It would require
a full-time staff working many months, with thousands of hours of employee time, and additional
time from in-house and outside attorneys and vendors to oversee such a process. This would be
hugely disruptive to SATV/EMI’s business operations. I believe the costs of such a review and
production would be astronomical.

8. Creating, publishing, and/or administering a song is a lengthy and complicated
process that invoives many categories of both income and expenses. At each stage, each source
of income and cost is documented in myriad ways, including through email communications,
documents and/or different databases or systems, by innumerable employees in offices located
across the world.

9. Identifying and processing revenue and cost data with respect to a given song would
be extremely burdensome and complicated. Some of the types of revenues and costs include those

related to: acquiring songs via agreements with songwriters or other music publishers;
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administering mechanical, synchronization, performance, and print licenses pursuant to which
SATV/EMI’s copyrighted works are exploited; and maintenance and payment of royalties to
songwriters, co-publishers, and other royalty participants in connection with income generated
from the exploitation of SATV/EMI’s works. I would estimate that SATV/EMI maintains millions
of pages of documents relating to these revenues and costs. As one example, the royalty statements
that SATV/EMI receives from the licensees of its works can be complex and contain massive
amounts of data (sometimes totaling millions of lines). These statements often are not limited to
royalties for any one particular composition, and instead often cover hundreds of thousands of uses
for thousands of other compositions that are administered by SATV/EMI.

10. Given the impracticality of collecting the detailed financial information Cox seeks,
SATV/EMI has provided summary a profit or loss statement for the years 2010 through 2014.
Such statement includes the following annual U.S.-based financial detail for SATV/EMI: total
revenues; total royalty expenses; talent expenses; amortization expense; overhead and other costs;
operating income; and net income. As explained above, it would be extremely difficult and
burdensome to provide the additional detailed financial information Cox seeks.

Discovery Concerning Ownership of SATV/EMI’s Musical Compositions

11. Musical compositions are the foundation of SATV/EMI’s business. In the course
of regular operations, SATV/EMI’s routine practice is to obtain copyright ownership of its songs
through agreements with songwriters and obtain copyright protection through registrations with
the U.S. Copyright Office

12. There are 17 SATV/EMI music publishing companies included as Plaintiffs in this
case. SATV/EMI currently has U.S. offices in New York, Los Angeles, Nashville, and Miami,

and is the world’s leading music publisher. SATV/EMI and its publishing affiliates own or control
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more than three million compositions, many of which have been registered for copyright protection
in the U.S.

13. The process for obtaining the rights to a composition is extensive. A music
publishing company typically obtains rights to a composition either by directly entering into an
agreement with a songwriter or indirectly by acquiring catalogs from other companies, or by
acquiring other companies (who themselves have entered into the direct agreements with
songwriters). The acquisition of any single composition may involve agreements and
communications between many people, correspondence with copyright owners and their
representatives, drafts and negotiations of agreements and licenses, input from lawyers, and the
like. SATV/EMI’s daily business activities also include working with licenses. SATV/EMI,
and/or its authorized agents, can issue dozens, hundreds, or even thousands of performance,
mechanical, synchronization, or other licenses for any individual composition. The files
containing these various materials, including the agreements and the licenses themselves, are not
kept in a central location. Rather, they are located in the files of the various publisher entities and
others who may be involved in any individual licensing situation.

14. The same is true for documents concerning any questions, challenges, uncertainties
or disputes regarding the validity or ownership of SATV/EMI’s copyrights in musical
compositions. Searching for documents regarding any challenges or disputes regarding the
validity or ownership of SATV/EMI’s copyrights would involve many employees, including
attorneys. SATV/EMI would not include works in its repertoire if a challenge to its ownership or
validity of its copyrights was successful and, likewise, would not knowingly have included any

such works in this lawsuit.
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15. An effort to locate, collect and review all of the documentation associated with
SATV/EMI’s ownership of copyrights in musical compositions—including the validity,
ownership, chain of title, songwriter agreements, challenges or disputes, and all forms of
assignments and licenses for a decade—would be an enormous undertaking. I estimate that
additional tens of thousands of documents, if not more, would need to be located, collected and
reviewed in such an effort. This process would require thousands of hours of employee time in
addition to the substantial time and expense required by in-house and outside attorneys to manage
this process. I would estimate that the expense of such an undertaking could easily cost hundreds

of thousands of dollars or more.

I declare under penalty of perjury under the laws of the Uni hat the foregoing is

true and correct.

 

 

Mifhael Avitbol

Executed this 23" day of January, 2019.
